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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                                LONDON

UNITED STATES OF AMERICA,               )
                                        )
     Plaintiff,                         ) Criminal Action No. 6:06-82-DCR
                                        )
v.                                      )
                                        )
TODD ROBERTS and VERNON                 )
HACKER,                                 ) MEMORANDUM OPINION AND ORDER
                                        )
     Defendants.                        )
                                        )
                                        )


                      **      **        **      **      **

     This matter is before the Court on Plaintiff’s motion to

transfer   [Record   No.    100]    and      Defendants’       joint    motion     to

disqualify [Record No. 109]. Having heard arguments on the motions

and being otherwise sufficiently advised, it is the decision of

this Court that, for the reasons discussed below, Plaintiff’s

motion to transfer [Record No. 100] is granted and Defendants’

motion to disqualify [Record No. 109] is denied.

                            Motion to Transfer

     This case is currently pending in the London division and the

United States argues that in the interest of justice, the case

should be transferred to another division within the Eastern

District. The instant case is part of a two year FBI investigation

into drug and public corruption in Clay County.                The United States

has prosecuted over thirty defendants in related cases. The United
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States contends, and this Court agrees, that due to the extensive

publicity of the investigation in the London division, it will take

an inordinate amount of time to seat a fair and impartial jury

there.

     Attached to the United States’s motion to transfer are over

forty articles from a local newspaper, The Manchester Enterprise,

which it offers as evidence of the extensive pretrial publicity of

the case.   These articles, while large in number, represent only a

portion of the articles regarding the case found in newspapers

circulated within the London division.            In addition, during Judge

Reeves’s hearing on the motion to transfer, Neil Middleton, vice

president of news for WYMT-TV, a local news station whose viewing

audience includes a large portion of the London division, produced

a DVD containing numerous stories the station had run on the

investigation.    It is also important to note that both Defendants

Roberts   and   Hacker    held   prominent      local      offices   within     the

Manchester community.      Additionally, Defendant Roberts’s mother,

Sallie Davidson, owns a realty company that employs sixteen agents

and operates in the Whitley, Knox, and Clay county areas, which are

all within the London division.          Indeed, at the hearing conducted

on October 20, 2007, the defendants called several witnesses, all

of whom either worked as agents for Ms. Davidson or had some other

form of business relationship with her.              None of these witnesses

lived in Clay County.       Finding jurors who have not heard of the
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Clay County investigation or who do not know the defendants or

Roberts’s mother would be an exhaustive, expensive and time-

consuming process.

      Fed. R. Crim. P. 18, Place of Prosecution and Trial, provides:

      Unless a statute or these rules permit otherwise, the
      government must prosecute an offense in a district where
      the offense was committed. The court must set the place
      for trial within the district with due regard for the
      convenience of the defendant and the witness, and the
      prompt administration of justice.

The trial judge has broad discretion in determining the proper

place for trial within a district.             United States v. Lewis, 504

F.2d 92, 98 (6th Cir. 1974); see also United States v. Dakota, 197

F.3d 821, 826 (6th Cir. 1999)(when the interests of justice

outweigh the expense and inconvenience of transfer, transfer from

one division within a district to another is permitted).                  When the

requirements for transfer set forth in Fed. R. Crim. P. 18 are met,

transfer of a case from one location within the district to another

does not require the assent of the defendant.                Lewis, 504 F.2d at

98.

      This case is currently set for trial in the London division.

While trial in the Ashland or Covington divisions would be a great

inconvenience to the parties, travel from the London division to

the Frankfort division does not present such an inconvenience to

the defendants or witnesses as to outweigh the interests of justice

that would be served by such a transfer.                   Because there are no

statutory jury divisions within the Eastern District of Kentucky

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which could restrict transfer, this Court finds that the prompt

administration of justice would best be served by transferring the

case to the Frankfort division for trial.

                          Motion to Disqualify

     In their joint motion to disqualify, Defendants Roberts and

Hacker request that Judge Reeves disqualify himself from hearing

the case, or, alternatively, that he disqualify himself from

proceeding on the motion of the United States to transfer the case

to another location within the district.            Essentially, Defendants’

alternative request that Judge Reeves not proceed on the motion to

transfer was satisfied when Judge Reeves referred the motion to the

undersigned for a ruling; however, Defendants continue to assert

that Judge Reeves should be disqualified because his impartiality

to preside in this case might reasonably be questioned.

     Defendants base their argument that Judge Reeves should be

disqualified on statements he made during the course of Kenneth

Day’s sentencing hearing in London criminal case number 05-cr-30-

DCR (“Day sentencing hearing”). The comments of Judge Reeves which

Defendants point to as evidencing his bias were made after hearing

arguments from both the United States and Day’s counsel on the

motion of the United States for a downward departure from the

Sentencing Guidelines.      The comments with which Defendants take

issue include, among others, Judge Reeves’s statements that: “[I]t

was a very large drug conspiracy that was allowed to develop in a


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culture of corruption in Clay County”; “[T]he only way these type

(sic) of conspiracies can exist is for those at the local level to

turn   their     heads”;   and   “it     [the   corruption     in    Clay   County]

threatens a lot of things, it threatens the join federal-state

operations like HIDTA and UNITE.” These statements by Judge Reeves

were made so as to justify granting Defendant Day a downward

departure from the sentencing guidelines based upon his high level

of cooperation with the United States’s investigation into a

complex drug conspiracy.

       Because    Defendants     Roberts      and   Hacker    are   charged     with

conspiracy to distribute drugs in Clay County, they assert that

Judge Reeves’s comments evince his bias and prejudice toward them.

Additionally, Defendants Roberts and Hacker, who were the assistant

police chief in Manchester and the 911 Director for Clay County,

respectively, state that they are just the types of individuals

Judge Reeves was referring to when he discussed the corruption of

local officials.      Finally, Defendants contend that Judge Reeves’s

comments about the threat to joint “federal-state operations” can

only be viewed as a product of his advocacy for the prosecution.

       Title 28 U.S.C. § 455(a) provides: “Any justice, judge, or

magistrate judge of the United States shall disqualify himself in

any proceeding in which his impartiality might reasonably be

questioned.”      In Liteky v. United States, 510 U.S. 540 (1994), the

Supreme Court addressed § 455 and the conditions under which it


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does and does not require disqualification of a judge.                   According

to the Supreme Court, “opinions held by judges as a result of what

they learned in earlier proceedings” are not the type of bias or

prejudice that require disqualification.              Id. at 551.       The Court

goes on to say that even though a judge who presides at a trial

may, at the completion of the trial, be “exceedingly ill disposed”

toward the defendant, that disposition, in itself, does not require

disqualification of the judge upon remand of the case.                    Id.    The

Court tempers this proposition by stating that the favorable or

unfavorable disposition of a judge may be the type of bias or

prejudice that requires disqualification if it is “so extreme as to

display clear inability to render fair judgment.”                 Id.

      The Supreme Court’s interpretation of § 455 is best summarized

by the following:

      [J]udicial rulings alone almost never constitute a valid
      basis for a bias or partiality motion. . . . Second,
      opinions formed by the judge on the basis of facts
      introduced or events occurring in the course of the
      current proceedings, or of prior proceedings, do not
      constitute a basis for a bias or partiality motion unless
      they display a deep-seated favoritism or antagonism that
      would make fair judgment impossible.      Thus, judicial
      remarks during the course of a trial that are critical or
      disapproving of, or even hostile to, counsel, the
      parties, or their cases, ordinarily do not support a bias
      or partiality challenge.

Id. at 555.      The Sixth Circuit Court of Appeals “looks to the

Supreme Court’s decision in [Liteky v. United States] to provide

the   standard   for   deciding   judicial       bias      claims.”      Getsy    v.

Mitchell, 456 F.3d 575, 594 (6th Cir. 2006); see also Williams v.

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Anderson, 460 F.3d 789, 814 (6th Cir. 2006).

      In support of their motion to disqualify, Defendants rely on

Anderson   v.   Sheppard,     856    F.2d      741   (6th     Cir.    1988)   for    the

proposition that “not only must litigants actually receive a fair

trial, they must also believe they have been given a fair trial.”

Id. at 746.     Defendants also quote the Anderson Court’s statement

that “we require not only an absence of actual bias, but an absence

of even the appearance of judicial bias.”                In Anderson, which was

decided several years before the Supreme Court’s decision in

Liteky, the Court of Appeals reversed the judgment of the lower

court due to the judge’s bias or prejudice against the plaintiff.

In reversing the lower court’s order denying Plaintiff’s motion for

an extension of time to retain new counsel, the Anderson Court

relied on several comments made by the district judge to the

plaintiff, including telling the Plaintiff that had the case gone

to trial “the jury would have sent [him] down the tube” and voicing

the   opinion   that   the    plaintiff        was   “doing    a     dumb   thing”   by

attempting to find a third attorney when trial was imminent.                         Id.

at 747.

      The instant case is easily distinguished from Anderson because

Judge Reeves’s comments do not evidence a clear inability to render

fair judgment in the case.          Here, Judge Reeves never made comments

regarding Defendants Roberts and Hacker. Judge Reeves’s statements

at the Day sentencing hearing were necessary for finding, by a


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preponderance of the evidence, that Defendant Day was entitled to

a downward departure from the sentencing guidelines, and were not

related     to   Defendants     Roberts       and      Hacker.       Consequently,

Defendants’ joint motion to disqualify is denied.

      Accordingly, IT IS ORDERED:

      (1) that Plaintiff’s motion to transfer [Record No. 100] be,

and   the   same   hereby     is,   GRANTED      and    the    matter    is    hereby

transferred to Frankfort for trial;

      (2) that the matter is set for trial in Frankfort on December

5, 2006, at 9:00 a.m., subject to intervening Orders of the Court;

      (3) that Defendants’ joint motion to disqualify Judge Reeves

from presiding over the motion to transfer [Record No.                      109] be,

and the same hereby is, DENIED AS MOOT; and

      (4) that Defendants’ joint motion to disqualify Judge Reeves

from the case [Record No. 109] be, and the same hereby is, DENIED.

      This the 26th day of October, 2006.




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